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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF TENNESSEE


 R.T. WYNNE, beneficiary                  *
 Of Life insurance of                     *
 JOYCE M. WYNNE, deceased,                *
                                          *
         PLAINTIFF,                       *
                                          *
 VS.                                      *        NO.
                                          *
 STONEBRIDGE INSURANCE                    *
 COMPANY, INC.,                           *
                                          *
         DEFENDANT.                       *


                                NOTICE OF REMOVAL


         Pursuant     to   28    U.S.C.    §§   1441      and   1446,    Defendant

 Stonebridge Insurance Company, Inc., files this Notice of

 Removal, stating as follows:

         1.     On November 24, 2008, the Plaintiff R.T. Wynne, a

 resident      of    Shelby     County,   Tennessee,        commenced        a    civil

 action which is pending in the Circuit Court of Shelby

 County, Tennessee under the style R.T. Wynne, Beneficiary

 of    Life     Insurance        of     Joyce    M.       Wynne,   Deceased          v.

 Stonebridge Insurance Company, Inc., Docket No. CT-005655-

 08.      Plaintiff’s         Complaint    for     Damages      for     Breach      of

 Contract and Bad Faith Denial alleges that on November 23,

 2002,    the       Plaintiff    R.T.     Wynne,      a   resident      of       Shelby

 County, Tennessee, was the beneficiary of accidental death
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 insurance       policies,      described         as    74L4073800,       74L6171304,

 74A6938518, and 74AY993014, allegedly issued by Defendant

 Stonebridge Insurance Company, Inc. on the life of Joyce M.

 Wynne.       (Compl. ¶ 1).           (Exhibit 1)             Plaintiff R.T. Wynne

 seeks    in     his    Complaint      “judgment         against    the    Defendant

 [Stonebridge] in the sum of Five Hundred Thousand Dollars,

 for compensatory and punitive damages for bad faith denial,

 plus pre judgment and post judgment interest and costs and

 an   award    of      attorney      fees    if    appropriate”.           Complaint,

 Prayer for Relief, ¶ 1, page 2.

         2.    Although        not    expressly          stated    in     Plaintiff’s

 Complaint,       Plaintiff’s        counsel       of     record,       Beth    Brooks,

 stated to undersigned counsel, DeWitt Shy, on January 2,

 2009,    that    R.T.    Wynne      is     in    fact    a    resident    of    Shelby

 County, Tennessee, and she also stated that Joyce Wynne was

 a resident of Shelby County, Tennessee at the time of the

 latter’s      death      on    November          23,    2002.       See       attached

 Affidavit of DeWitt M. Shy, Jr.                  Exhibit 2.

         3.    A copy of the Complaint for Damages for Breach of

 Contract and Bad Faith Denial and a copy of the Summons

 served       upon     Stonebridge          Insurance         Company,     Inc.     are

 attached hereto as Exhibit 1.                     Exhibit 1 consists of all

 process and pleadings received by the Defendant, no orders

 having been served upon the Defendant.


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         4.     Stonebridge            Insurance          Company,         Inc.         first

 received a copy of the Summons and Complaint on December 2,

 2008, via personal service on the Tennessee Secretary of

 State.       Exhibit 3 consists of all process and pleadings

 received by Stonebridge Insurance Company, Inc.                                From the

 time of the commencement of this action to the present,

 Defendant Stonebridge Insurance Company, Inc. has been a

 corporation        organized          and   existing      under     the    laws        of   a

 state    other         than    Tennessee      with      its    principal       place        of

 business in a state other than Tennessee.

         5.     The subject action is a civil action of which

 this Court has jurisdiction pursuant to the provisions of

 28    U.S.C.       §    1441    in     that       (a)    the   Plaintiff         and    the

 Defendant are citizens of different states; (b) the amount

 in controversy exceeds $75,000, exclusive of interest and

 costs;       and       (c)     this     action      is     within       the      original

 jurisdiction of the Court pursuant to the provisions of 28

 U.S.C. § 1332.

         6.     Written notice of the filing of this Notice of

 Removal is being given to the adverse parties, and a Notice

 of the filing of this Notice of Removal is being filed with

 the Clerk of the Circuit Court of Shelby County, Tennessee.

 A    copy    of    the       Notice    of   Filing       of    Notice     of     Removal,




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 excluding the exhibit (this Notice of Removal), is attached

 hereto as Exhibit 4.

         7.     By filing this Notice of Removal, the defendant

 Stonebridge Insurance Company, Inc. does not waive, either

 expressly or implicitly, its right to assert any defenses

 which    the      Defendant     could   have    asserted   in   the   Circuit

 Court of Shelby County, Tennessee.

         WHEREFORE,       Defendant      Stonebridge   Insurance       Company,

 Inc. removes to this Court the above action now pending

 against      it     in    the    Circuit     Court    of   Shelby      County,

 Tennessee.



                                           Respectfully submitted,

                                           BURCH, PORTER & JOHNSON, PLLC



                                           BY:   s/DeWitt M. Shy, Jr.
                                                 DeWitt M. Shy, Jr. #5163
                                                 130 North Court Avenue
                                                 Memphis, Tennessee 38103
                                                 (901) 524-5137

                                                 Attorney for Stonebridge
                                                 Insurance Company, Inc.




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                        CERTIFICATE OF SERVICE

       I hereby certify that I have forwarded a copy of the
 foregoing to Beth Brooks, Esq., 2299 Union Avenue, Memphis,
 Tennessee 38104, via U.S. mail, this 2nd day of January,
 2009.



                                     s/DeWitt M. Shy, Jr.




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